Case 2:05-cr-80955-DML-RSW ECF No. 1737, PageID.11234 Filed 02/20/24 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

                     Plaintiff,
                                                       Case No. 05-cr-80955
        v.
                                                       HON. DAVID M. LAWSON
  DEMETRIUS FLENORY,

                     Defendant.
                                         /

    STIPULATION TO REDUCE SENTENCE PURSUANT TO AMENDED
         UNITED STATES SENTENCING GUIDELINES (PART A)

        On September 12, 2008, the defendant was sentenced to 360 months in custody

  based on his conviction for continuing criminal enterprise and money laundering

  conspiracy. The total offense level at the time of the original sentencing was 42. The

  defendant’s criminal history was category II based on 3 criminal history points. The

  sentencing guideline range was 360 months to life.

        On June 14, 2021, this Court reduced the defendant’s sentence to 324 months’

  imprisonment, after U.S.S.G. Amendment 782 lowered his offense level to 40 and the

  corresponding sentencing range to 324 to 405 months.

        The parties agree that defendant meets the criteria under United States

  Sentencing Guidelines Amendments 821 (Part A), the recent retroactive amendment


                                             1
Case 2:05-cr-80955-DML-RSW ECF No. 1737, PageID.11235 Filed 02/20/24 Page 2 of 2




  removing the two criminal history “status points” under USSG § 4A1.1. If

  Amendment 821 had been in effect at the time of defendant’s sentencing, defendant

  would have had 1 criminal history point, the criminal history category would have

  been I, and the guideline range would have been 292 to 365 months.

        The Probation Department agrees with this calculation, as a reflected in the

  § 1B1.10 report. (ECF No. 1736).

        The parties stipulate that, under 18 U.S.C. § 3582(c)(2), the Court may

  reduce defendant’s sentence to a term of imprisonment not lower than 292 months,

  effective no sooner than February 1, 2024. The parties further agree that the factors

  set forth in 18 U.S.C. § 3553(a) support a reduction in sentence to the same point

  in the amended guideline range as the point originally selected by the Court when

  applying the original guideline range, that is, at the bottom of the range, which is

  292 months.


  s/ Brittany K. Barnett (with consent)                s/ Benjamin C. Coats
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  Date: February 20, 2024



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